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                    UNITED STATES BANKRUPTCY COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             Charlotte Division

____________________________________
                                    )
In Re:                              )          Chapter 11
                                    )
GARLOCK SEALING TECHNOLOGIES )                 Case No. 10-31607
LLC, et al.                         )
                                    )
Debtors.                            )          Jointly Administered
____________________________________)




   MEMORANDUM OF THE OFFICIAL COMMITTEE OF ASBESTOS PERSONAL
 INJURY CLAIMANTS: (1) IN OPPOSITION TO THE DEBTORS’ MOTION FOR (A)
    ESTABLISHMENT OF ASBESTOS CLAIMS BAR DATE, (B) APPROVAL OF
ASBESTOS PROOF OF CLAIM FORM, (C) APPROVAL OF FORM AND MANNER OF
   NOTICE, (D) ESTIMATION OF ASBESTOS CLAIMS, AND (E) APPROVAL OF
 INITIAL CASE MANAGEMENT SCHEDULE; AND (2) IN FURTHER SUPPORT OF
       ITS MOTION FOR ENTRY OF A SCHEDULING ORDER FOR PLAN
                       FORMULATION PURPOSES




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       The Official Committee of Asbestos Personal Injury Claimants (the “Asbestos

Claimants Committee” or “ACC”), respectfully submits this memorandum in opposition to the

Debtors’ Motion for (A) Establishment of Asbestos Claims Bar Date, (B) Approval of Asbestos

Proof of Claim Form, (C) Approval of Form and Manner of Notice, (D) Estimation of Asbestos

Claims, and (E) Approval of Initial Case Management Schedule, dated August 31, 2010 [Dkt.

No. 461] (“Bar Date Motion”), and in further support of the ACC’s Motion for Entry of a

Scheduling Order for Plan Formulation Purposes, dated August 30, 2010 [Dkt. No. 451] (“ACC

Scheduling Motion”).


                                 PRELIMINARY STATEMENT

       In our Information Brief, submitted in support of the ACC Scheduling Motion, based on

the Debtors’ prior statements, we anticipated that the Debtors would file this Bar Date Motion.

We provided preliminary arguments why following the Debtors’ proposed path would prove a

fool’s errand at great cost and with years of delay. Now that the Bar Date Motion has been filed,

we detail below why the Debtors’ proposed Bar Date/Proof of Claim/Allowance process:

       1.      is not, as they claim, required by law;

       2.      will serve no useful purpose; and

       3.      will cause years of delay at great cost to the parties and require years of wasted

effort by the Court.

       In a Section 524(g) bankruptcy, where the pertinent inquiry is the determination of the

debtor’s aggregate liability for asbestos claims, the best data on which to base that determination

is the debtor’s own claims verdict and settlement history, which reflects the debtor’s own




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assessment over time of the value of claims asserted against it in the tort system.1 The task of

resolving and liquidating individual claims is left to the trust created by the Plan. Thus, there is

no need for the Bankruptcy Court to take on the Sisyphean task of individual claims

determination in allowance proceedings, which would take many years to complete and would

deplete the assets of the estate. Indeed, of the nearly ninety Section 524(g) bankruptcy cases,

undersigned counsel are aware of only two in which a bar date and proof of claim form process

was even begun. And in no case has there ever been allowance proceedings for asbestos

personal injury claims.

        Moreover, even to begin down the Debtors’ ultimately futile path would be to derail this

case at enormous costs in time and money to the parties and the Court. First, the Court would

have to consider and approve a notice plan and proof of claim form. In doing this, the Court

would have to review the Debtors’ proposed eleven-page proof of claim form, an oppressively

burdensome set of document requests and interrogatories directed to each individual claimant,

and provide a schedule on which not only the ACC and the Future Claims Representative

(“FCR”), but all potential respondents, could present for resolution the many legal and

constitutional issues raised by the notice plan, and the myriad proof of claim form objections

involving relevance, privilege, and burdensomeness. In the only two cases where this process

was even begun, it took two to three years for the courts to resolve these issues, in order to arrive

at the stage when the form could be issued to claimants.

        Second, claimants would require sufficient time to complete the proof of claim form as

approved by the Court. Even if we assume that only three hours would be required for asbestos


1
   By “tort system,” we refer to the complex of doctrines, rules, and practices under which
asbestos claims are commonly litigated and resolved outside of bankruptcy.



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claimants’ representatives to complete the form, the effort would require 372,000 paralegal

hours, as well as significant lawyer hours, and the cost to respondents to do so would be well

upwards of $10 million at the very least.

       Third, even after the Court and the parties have devoted two to three years to the effort,

and claimants and their counsel have spent millions of dollars, and after more than 100,000 proof

of claim forms have been filed, this Court and the District Court — which has sole jurisdiction to

issue any final orders disallowing personal injury and wrongful death claims — would be mired

in summary judgment hearings in allowance proceedings for years.            Moreover, any such

allowance proceedings would prove futile, because asbestos claims are highly fact-intensive and

thus are not amenable to disposition by summary judgment. Garlock cannot escape its liabilities

through bankruptcy. This Court and the District Court cannot act as forums for tort reform and

disallow claims based on defenses that have been consistently rejected in the tort system. Once

this became clear in the only two Section 524(g) cases where proofs of claims were ordered and

filed, the allowance process was abandoned.

       It is well-established that all forms of asbestos, including chrysotile asbestos, are

inherently dangerous and therefore there can be no serious dispute that asbestos emitted from

Garlock’s products was a substantial contributing factor to the injuries suffered by thousands of

workers exposed to the asbestos in those products. As we detail in our Information Brief, judges

and juries in the tort system have regularly rejected Garlock’s and other defendants’ arguments

to the contrary. Thus, typically, the only genuine issues in lawsuits against Garlock were

whether the plaintiff had been exposed to Garlock’s products, and whether the plaintiff’s injuries

were asbestos-related. For individuals who could demonstrate they had a disease caused by

asbestos, and that they had been exposed to asbestos from Garlock’s products, the only argument




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was over the amount of money that Garlock should pay in damages. Faced with that reality, and

having suffered (by its own account) “ruinous” verdicts in a significant percentage of the cases it

chose to take to trial, Garlock, like most asbestos defendants, chose to settle, rather than litigate,

most of the claims against it. Garlock’s decisions to settle cases were in its own rational self-

interest, in an effort to minimize its asbestos liabilities, and the settlement amounts reflect

Garlock’s best business judgment of the varying strengths of the claims and their values in the

tort system.

       There is no bankruptcy case in which the “allowance-then-estimation” course of

proceedings that Garlock proposes has been carried out. To the best of the ACC’s knowledge, in

some ninety asbestos bankruptcies administered since the early 1980’s, only two courts have

attempted anything like it. In both cases, the process collapsed of its own weight and the debtors

involved settled their asbestos liabilities by agreeing to contribute billions of dollars to Section

524(g) trusts. Indeed, the very notion of claim-by-claim allowance proceedings addressing tens

of thousands of pending asbestos personal injury cases is antithetical to Section 524(g), which is

designed to relieve the courts and the parties of the burdens of allowance proceedings by shifting

responsibility for processing the claims to a trust created under judicial auspices as part of a

confirmed plan of reorganization. Given the enormous burden that the Debtors’ proposal would

impose on the estates, the asbestos claimants, and this Court and the District Court — in time,

money, and satellite litigation — Garlock’s failure to demonstrate that its suggested program has

any practical utility, and the utterly fanciful nature of its scheduling proposal, are reasons enough

to deny its motion.

       The Court can and should require the parties to frame their discovery to meet the factual

issues that are truly material to valuing the Debtors’ aggregate asbestos liabilities and the assets




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of their estates. Garlock’s ill-conceived program should be rejected and the ACC’s proposed

scheduling order adopted by the Court, so that these cases can be put on track towards a plan of

reorganization that can be formulated and confirmed in a reasonable period of time. At the very

least, the Bar Date Motion should be deferred until all the parties in interest receive the Debtors’

historical claims data and have had an opportunity to analyze the data for use in responding fully

to the factual premises of the Motion, including the purported claim form and notice program for

which the Debtors seek the Court’s imprimatur based on untested representations and hyperbolic

rhetoric.

I.      A BAR DATE/PROOF OF CLAIM PROCESS IS NEITHER REQUIRED BY
        LAW NOR USEFUL AND IF ADOPTED WOULD CONSIGN THE PARTIES
        AND THE COURT TO SEVERAL YEARS OF EXPENSIVE ACTIVITY TO NO
        PURPOSE

        A.     Neither a Bar Date Nor a Proof of Claim Is Required by Law

        In large asbestos-driven bankruptcies such as these cases, pending asbestos claims at the

petition date number in the hundreds of thousands — far too many to be dealt with in the

bankruptcy without indefinitely delaying distribution to the creditors and resolution of the

bankruptcy case. Moreover, thousands of additional claims arise continuously, as long-latent

diseases become manifest, and new claims will continue to arise well beyond the petition filing

date. The tens of thousands of demands of potential future claimants, whose claims will not even

arise until after any bar date or even plan confirmation date, and who cannot be identified or

given adequate notice, cannot be discharged. See Information Brief of the Official Committee of

Asbestos Personal Injury Claimants dated August 30, 2010 [Dkt. No. 452] (“ACC Info. Br.”) at

30.

        In short, a bar date is impractical in these cases. As Southern District of New York Chief

Bankruptcy Judge Bernstein put it:



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         [T]he filing of a one page proof of claim, see Official Form no. 10, with minimal
         information and an exorbitant or unliquidated demand is not helpful. The
         alternative, designing a claim form that calls for more detailed medical
         information about the nature and the severity of the claimant’s impairment, is
         cumbersome and best postponed for submission to the post-confirmation trust.

In re Quigley Co., 346 B.R. 647, 653 (Bankr. S.D.N.Y. 2006). Accordingly, in virtually all

asbestos bankruptcies, bar dates for asbestos personal injury claims have not been imposed, and

asbestos claimants have not been required to file claims “because of the practical difficulties

involved.” Id. See, e.g., In re Armstrong World Indus., Inc., No. 00-4471 (D. Del.); In re

Combustion Eng’g, Inc., No. 03-10495 (Bankr. D. Del.); In re Congoleum Corp., No. 03-51524

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Nos. 00-3837-3854 (D. Del.); In re Kaiser Aluminum Corp, No. 02-10429 (Bankr. D. Del.); In re

Mid-Valley, Inc., No. 03-35592 (Bankr. W.D. Pa.); In re JT Thorpe, 02-14216 (Bankr. C.D.

Cal.).

         This well-established practice is clearly envisaged by Section 524(g), which Congress

enacted specifically to deal with the practical difficulties of asbestos bankruptcies. Section

524(g) provides for all pending and future asbestos claims to be channeled to a trust. 11 U.S.C.

Section 524(g)(2)(B). The estate’s assets are used to fund the trust and, in exchange, the debtor

is freed of liability. Id. The task of resolving and paying the claims is left to the trust, pursuant

to procedures approved by the court.       Id.   Thus, the court is not saddled with allowance

proceedings that would take years if not decades to complete, finality can be achieved without

offending the due process and legal rights of the asbestos creditors, and the case can be resolved

in an expeditious manner.




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        Garlock argues that a bar date is required in these bankruptcy cases because the claims

are scheduled as disputed, contingent, and unliquidated. See Bar Date Motion at 14. But neither

the Bankruptcy Code nor the Bankruptcy Rules require a proof of claim as a prerequisite for

having creditors’ claims considered. See In re Simmons, 765 F.2d 547, 551 (5th Cir. 1985)

(“[N]o creditor is required to file a proof of claim.”); see also 4 Alan N. Resnick & Henry J.

Sommer, Collier on Bankruptcy ¶501.01[1] at 501-4 (15th ed. rev. 2008) (“Collier”) (“It should

be noted that the filing of a proof of claim or interest is permissive, and no creditor or interest

holder is ever required to file one.”). Instead, proofs of claim are a tool to be used when they

would serve some legitimate purpose in the proceeding. See Simmons, 765 F.2d at 551 (“A

proof of claim or interest should be filed only when some purpose would be served.”); 4 Collier

¶ 501.01[1], at 501-4 (quoting Simmons).2 A bar date for asbestos personal injury claims serves



2
    Garlock’s own authorities do not support Garlock’s argument that a bar date is mandatory.
See Bar Date Motion at 14-15 (citing cases). Rather, they support the opposite proposition, that
is, that the court has broad discretion to determine whether a bar date should be imposed. While
the court in Eagle-Picher, a pre-Section 524(g) asbestos bankruptcy case, set a bar date, the court
firmly rejected the argument Garlock makes here, and held that debtors do not “have an absolute
right to have a bar date set by which time proofs of claim must be filed.” In re Eagle-Picher
Indus., Inc., 137 B.R. 679, 680 (Bankr. S.D. Ohio 1992). “After careful consideration,” the court
held, “we have reached the conclusion that while such bar dates are commonly set in Chapter 11
cases, upon good cause shown the court may dispense with one in a given case.” Id. (emphasis
added). And in Keene, another pre-Section 524(g) asbestos bankruptcy case, the bar date did not
apply to asbestos personal injury claims. See In re Keene Corp., 188 B.R. 903, 913 (Bankr.
S.D.N.Y. 1995). Hooker, Robins and Dow Corning did not involve asbestos claims. See In re
Hooker Invs., Inc., 937 F.2d 833 (2d Cir. 1991); In re A.H. Robins Co., 862 F.2d 1092 (4th Cir.
1988); In re Dow Corning Corp., 211 B.R. 545 (Bankr. E.D. Mich. 1997).
   As discussed in Part I.B.1, below, the bar date and allowance procedures established by the
court in Babcock & Wilcox proved futile and were abandoned. Celotex is, to the best of the
ACC’s knowledge, the only Section 524(g) case in which a bar date was imposed and acted
upon. The petition in that case was filed in 1990, before Section 524(g) had been enacted. The
bar date was imposed in 1996, some six years after the petition was filed, and shortly before an
anticipated confirmation hearing. And, unlike in these cases, the bar date in Celotex was not
sought or used in order to attack individual claims before estimation. See In re Celotex Corp.,
(Footnote continued on next page.)


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no purpose in a Section 524(g) bankruptcy, as those claims will not be liquidated by the court,

but are left for resolution by the trust after confirmation and consummation of the plan.

         B.     Nothing Can Be Accomplished By a Bar Date/Proof of Claim Process

                1.     Asbestos Personal Injury Claims Cannot Be Decided En Masse or by
                       Summary Judgment

         Personal injury asbestos claims cannot be decided en masse; the pervasive factual

disputes underlying asbestos claims are too individualized to be litigated in classes. In the

Georgine settlement litigation, for example, the Third Circuit concluded that the putative class of

future asbestos claimants could not lawfully be certified for class action treatment under Rule 23

of the Federal Rules of Civil Procedure because the individual claims were so disparate on their

facts:

         Class members were exposed to different asbestos-containing products, for
         different amounts of time, in different ways, and over different periods. Some
         class members suffer no physical injury or have only asymptomatic pleural
         changes, while others suffer from lung cancer, disabling asbestosis, or from
         mesothelioma — a disease which, despite a latency period of approximately
         fifteen to forty years, generally kills its victims within two years after they
         become symptomatic. Each has a different history of cigarette smoking, a factor
         that complicates the causation inquiry.

Georgine v. Amchem Prods., Inc., 83 F.3d 610, 626 (3d Cir. 1996), aff’d sub nom. Amchem

Prods., Inc. v. Windsor, 521 U.S. 591 (1997). Under substantive law, “causation of plaintiff’s

injury by defendant’s product and plaintiff’s resultant damages must be determined as to

‘individuals, not groups.’” Cimino v. Raymark Indus., Inc., 151 F.3d 297, 313 (5th Cir. 1998)

(emphasis added) (quoting In re Fibreboard Corp., 893 F.2d 706, 711 (5th Cir. 1990)); see also

Malcolm v. Nat’l Gypsum Co., 995 F.2d 346, 350-54 (2d Cir. 1993) (disapproving consolidation


(Footnote continued from previous page.)
204 B.R. 586 (Bankr. M.D. Fla. 1996). Nowhere in its confirmation decision does the court in
Celotex even suggest that a bar date was mandatory. See In re Celotex Corp., 204 B.R. at 593.



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for trial of forty-eight asbestos cases because too many different individual exposures, jobs, job

sites, and diseases were involved).

        Even if this Court were to consolidate huge tranches of claims for summary judgment

motions under Rule 42, each claimant would have due process rights to notice and an

opportunity to be heard in the allowance proceedings, contested matters to which discovery rules

would apply.3 Thus, each of the tens of thousands of individual claimants would be entitled to

his or her own discovery and response.

        Nor would the claims be amenable to disposition by summary judgment. Asbestos cases

are highly fact-intensive. Defendants in the tort system often question whether a plaintiff has

been exposed to their specific product, whether his claimed illness is actually caused by asbestos

exposure, and indeed whether the plaintiff is sick at all. By their very nature, such defenses

almost always turn on disputed facts, preventing summary dispositions. Garlock simply will not

be able to demonstrate that there are no genuine issues of material fact with respect to any

material number of the claims against it. Rather, there generally will be enough evidence of

exposure and disease to go to the jury. See ACC Info. Br. at 72-75.

        In the two Section 524(g) cases in which courts ordered bar dates and allowance

proceedings, Babcock & Wilcox and W.R. Grace, the process was ultimately abandoned.4 Faced



3
   See Fed. R. Bankr. P. 9014 advisory committee’s note (“the filing of an objection to a proof of
claim * * * creates a dispute which is a contested matter”).
4
   In USG, a bar date order was entered with respect to cancer claims only, so that the debtor’s
solvency could be determined. See In re USG Corp., 290 B.R. 223, 227 (Bankr. D. Del. 2003).
In an observation pertinent to the Bar Date Motion before the Court in these cases, the court in
USG noted that if the debtor’s aggregate liability for mesothelioma and other cancer claims
rendered it insolvent, “small benefit will be gained for immense cost of litigating the entire
universe of claims.” Id. at 224. The bar date was never imposed. Rather, the asbestos claimants
committee and the debtor filed a consensual plan, which was confirmed after an uncontested
(Footnote continued on next page.)


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with a proposal similar to Garlock’s, the court in Babcock and Wilcox recognized these practical

problems. In a hearing on a proposed case management order, District Judge Vance of the

Eastern District of Louisiana was highly critical of the debtor’s arguments that the completed

forms could be used to eliminate entire categories of claims. For example, B&W argued that the

exposure history on the forms showed that a large number of claimants alleged exposure at

locations where there were no B&W boilers, the sole source of exposure at issue in that case.

Judge Vance flatly rejected B&W’s contention that these claims could be consolidated under

Fed. R. Civ. P. 42 and summarily dismissed, stating:

       But the issues are still individual issues. If you are going to lump them all
       together and say, okay, these 160,000 may have an issue involving exposure —
       each one of those people has an issue as to exposure that has to be determined
       * * * Now, how can I do that except one at a time?

Hearing Transcript at 7-8, In re Babcock & Wilcox., (E.D. La. Jan. 25, 2002) (No. 00-cv-558)

(“Babcock & Wilcox Hr’g Tr.”) (excerpt attached as Ex. 2). The debtor was unable to answer

that question to the court’s satisfaction. See id. at 8-11.

       The court in B&W correctly recognized that the summary judgment motions would take

decades of the court’s time, if they could be done at all. “Suppose there’s an issue of fact and

you lose that summary judgment motion,” Judge Vance told the debtor, “[t]hat’s not the end of it

because you have a backup summary judgment motion down the road because you have about

644,000 possible objections that could be made to these claims if I add all this stuff up.” Id. at

11. In response to the debtor’s remarkable contention that the court could dispose of 93,000

claims in three months, “depend[ing] on how fast you read the papers,” Judge Vance pronounced



(Footnote continued from previous page.)
confirmation hearing. See In re USG Corp., No. 01-2094 (Bankr. D. Del. June 15, 2006)
(Findings of Fact and Conclusions of Law regarding Confirmation) [Dkt. No. 11687] (Ex. 1).



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herself “awe-struck.” Id. at 12-14. Again and again, Judge Vance returned to the basic point

that objections to claims must be dealt with on a case-by-case basis.

        Toward the end of this colloquy, Judge Vance declared:

        I think you want to totally undo the bankruptcy process, and I just don’t agree
        with your interpretation of how that works, that you can’t have an estimation
        process that considers past history of how claims were settled, [that] to make an
        estimation * * * you have to have an individualized determination of every single
        claim.

Id. at 32 (emphasis added).      Faced with Judge Vance’s incredulity about their proposed

estimation methodology, and with the end of the exclusivity period looming, the debtors

negotiated a consensual plan of reorganization with the asbestos claimants’ committee.5

        In W.R. Grace, the court imposed a bar date on asbestos personal injury claimants who

had lawsuits pending as of the petition date. The debtors wanted the bar date and the submission

of claim forms to follow on the heels of an onerous multi-page questionnaire — similar to the

proposed proof of claim form here — which the debtors had been permitted to issue to all

existing asbestos personal injury claimants for the ostensible purposes of estimating the debtor’s

liability.6   Claimants submitted more than 100,000 responses to the questionnaire, with

voluminous corroborating documentary evidence attached, all at enormous cost to that

constituency. The questionnaire led to numerous and protracted discovery battles, and forced the

5
   The plan ultimately led to a confirmation hearing at which various insurance companies
contested the debtors’ overall asbestos liability. The valuation of the debtors’ asbestos liability
at the confirmation hearing was based entirely on expert estimation of that liability and the
debtors’ past claims history, not on the claim forms. B&W’s total liability for present and future
asbestos claims ranged from $7.1 billion to $ 9.0 billion. See In re Babcock & Wilcox Corp., No.
00-10992, 2004 WL 4945985 (Bankr. E.D. La. Nov. 9, 2004); see also In re Federal-Mogul
Global, Inc., 330 B.R. 133, 156 n.11 (D. Del. 2005) (discussing B&W).
6
   See Case Management Order for the Estimation of Asbestos Personal Injury Liabilities, In re
W.R. Grace & Co., No. 01-01139 (Bankr. D. Del. Aug. 29, 2005) [Dkt. No. 9301] (Ex. 3). The
court granted the debtor’s bar date request in August 2006. See Order, In re W.R. Grace, No. 01-
01139 (Bankr. D. Del. August 24, 2006) [Dkt. No. 13061] (Ex. 4).



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court to extend the discovery deadlines and the estimation hearing eleven different times.7 The

process was so time-consuming for the court that Judge Fitzgerald declared that “she would

never do this again,” and that it had been a “nightmare.”8 Then, almost three years into its

individual claims discovery program, the debtor stated that simply coding the information into a

database would take another eight years.9

         The bankruptcy court never had to rule on the estimated value of Grace’s aggregate

asbestos-related liability. Instead, after a total of seven years of litigation against the asbestos

claimants committee and personal injury claimants in its bankruptcy case, Grace and its former

affiliates agreed to fund a Section 524(g) trust.10 Ultimately, the bar date, which had generated

the filing of tens of thousands of asbestos-related personal claims, did not play any material role

in the Grace reorganization. Under Grace’s proposed reorganization plan, an asbestos personal

injury claimant can receive a distribution from the Section 524(g) trust regardless of whether he

or she timely filed a proof of claim.11 In sum, Grace’s program combining a bar date and

onerous claimant questionnaire was a huge waste of time and money.



7
     See ACC Info. Br. at 12-13 & n.15.
8
  Hearing Transcript at 200, In re W.R. Grace & Co., (Bankr. D. Del. Sept. 25, 2006) (No. 01-
01139) (excerpt attached as Ex. 5).
9
   See W.R. Grace & Co.’s Response to Emergency Motion of the Official Committee of
Asbestos Claimants and David T. Austern the Court Appointed Legal Representative for Future
Asbestos Personal Injury Claimants to Compel Production of Complete Navigable Database at 9,
In re W.R. Grace & Co., No. 01-01139 (Bankr. D. Del. Mar. 26, 2007) [Dkt. No. 14973] (Ex. 6).
10
     See ACC Info. Br. at 12-13 & n.15.
11
   See First Am. Joint Plan of Reorganization Under Chapter 11 of the Bankr. Code of W.R.
Grace & Co., et al., the Official Comm. of Asbestos Pers. Injury Creditors, the Asbestos PI
Future Claimants’ Representative, and the Official Comm. of Equity Sec. Holders at 47, In re
W.R. Grace & Co., No. 01-01139 (Bankr. D. Del. Feb. 27, 2009) [Dkt. No. 20872] (excerpt
attached as Ex. 7).



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              2.      The Asbestos Claims Cannot Be Eliminated Through Daubert
                      Challenges to Expert Testimony

       Just as asbestos claims do not lend themselves to collective dispositions on the facts under

existing tort law, they are not amenable to disallowance under any special bankruptcy standards.

Of course, any effort to disallow claims in bankruptcy would have to rest on statutory grounds

recognized by the Bankruptcy Code itself. The statutory grounds for disallowance are detailed

and specific. See 11 U.S.C. § 502(b). Only one of those grounds has even theoretical relevance

here, i.e., the objection that any “such claim is unenforceable against the debtor and property of

the debtor, under any agreement or applicable law for a reason other than because such claim is

contingent or unmatured.” 11 U.S.C. § 502(b)(1). That ground simply incorporates the rule that

claims are tested in bankruptcy by applicable non-bankruptcy law. A claim is not unenforceable

under applicable non-bankruptcy law merely because the debtor disputes the merits of the claim

or dislikes applicable state tort law. To the contrary, the Bankruptcy Code expressly defines

“claim” to encompass a right to payment that is “disputed.” 11 U.S.C. § 101(5).

       Garlock contends that it will seek disallowance of claims by invoking Daubert v. Merrell

Dow Pharmaceuticals, 509 U.S. 579 (1993). See Bar Date Motion at 25. According to Garlock,

courts in the tort system have permitted “dubious medical evidence” (id. at 6) that Garlock’s

products cause asbestos disease, which Garlock apparently assumes would be excluded in this

Court under Daubert. Apparently, Garlock intends to move to disallow any expert evidence

introduced to demonstrate that the asbestos in Garlock’s products caused or contributed to

causing any asbestos-related diseases. See Bar Date Motion at 2, ¶ 4l; Garlock Info. Br. at 80-81.

       Garlock’s underlying premises are false and have been rejected by independent experts in

the scientific and medical community. Contrary to Garlock’s repeated assertions, the scientific




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evidence is overwhelming that chrysotile asbestos causes all kinds of asbestos diseases.12

Indeed, there is persuasive evidence that chrysotile asbestos “is by far the main contributor to

pleural mesothelioma causation in the U.S.”13 There is also conclusive evidence that Garlock’s

asbestos-containing gaskets and packing material emit large quantities of asbestos when installed

or replaced; that the asbestos is encapsulated on manufacture does not prevent fibers from being

emitted when the gaskets and valve packing are cut, scraped, abraded, or otherwise disturbed

while routinely being installed or replaced. See ACC Info. Br. at 45-48.14

       In asserting that it will have claims disallowed by invoking Daubert, Garlock seems to be

asserting that claimants cannot produce any expert who could testify that chrysotile asbestos

causes disease, or that Garlock’s products emit asbestos during normal use when disturbed, or

that the asbestos emitted by Garlock’s products contribute to causing disease. But Garlock could

not have expert testimony on these issues excluded under Daubert just because Garlock

disagrees with the experts’ conclusions. Daubert provides that a particular expert’s testimony is

admissible in a particular proceeding so long as the process or technique the expert used in

12
   See ACC Info. Br. at 50-55. See also Collegium Ramazzini, Commentary: Asbestos is Still
with Us – Repeat Call for a Universal Ban, 16 Int. J. Occup. Environ. Health 351, 351-55 (2010)
(“All forms of asbestos cause asbestosis, a progressive, debilitating fibrotic disease of the lungs.
All forms of asbestos cause human cancer [including] malignant mesothelioma, lung, laryngeal,
and ovarian cancers. * * * Early suggestions that chrysotile might be less dangerous than other
forms of asbestos have not been substantiated * * * numerous epidemiological studies, case
reports, controlled animal experiments, and toxicological studies * * * show clearly and
consistently that chrysotile is highly dangerous and that it is fully capable of causing cancer.”).
13
   See Allen H. Smith & Catherine C. Wright, Chrysotile Asbestos Is the Main Cause of Pleural
Mesothelioma, 30 Am. J. Ind. Med. 252, 262-66 (2006) (concluding, after careful review of
available data, that chrysotile asbestos “is by far the main contributor to pleural mesothelioma
causation in the U.S.”). See also William J. Nicholson, The Carcinogenicity of Chrysotile
Asbestos - A Review, 39 Indus. Health 57, 57-64 (2001) (chrysotile “dominates the risk [of
mesothelioma] where it is the principal fiber used”).
14
   Further, as the ACC already has demonstrated, Garlock’s alleged compliance with safety
regulations is no defense to tort liability. See ACC Info. Br at 56-57.



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formulating the opinion is relevant and reliable. Daubert, 509 U.S. at 589. The reliability

inquiry is intended to be a flexible one, designed merely to serve as a threshold query for

admissible evidence. See id. at 594. As the Supreme Court explained in Daubert itself, “[t]he

focus, of course, must be solely on principles and methodology, not on the conclusions that they

generate.” Id. at 595; see also In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 746 n.15 (3d Cir.

1994) (“The methodology/conclusion distinction remains of some import * * * to the extent that

there will be cases in which a party argues that an expert’s testimony is unreliable because the

conclusions of an expert’s study are different from those of other experts. In such cases, there is

no basis for holding the expert’s testimony inadmissible.”). And the court “must err on the side

of admission rather than exclusion.” Paoli R.R. Yard PCB Litig. v. Monsanto Co., 916 F.2d 829,

857 (3d Cir. 1990). Indeed, Garlock’s and other defendants’ challenges to expert testimony on

these issues under Daubert (or under correlative state law standards) in the tort system have

repeatedly been rejected. See ACC Info. Br. at 67-75. There is no reason to expect a different

result in this Court.

       Moreover, Daubert issues are decided on a case-by-case basis. In Kumho Tire Co., Ltd. v.

Carmichael, 526 U.S. 137 (1999), the Supreme Court held that whether or not the factors

identified in Daubert are pertinent for admitting expert testimony depends upon “the particular

circumstances of the particular case at issue.” Kumho Tire, 526 U.S. at 150; see also id. at 156

(“The trial court had to decide whether this particular expert had sufficient specialized

knowledge to assist the jurors ‘in deciding the particular issues in the case.’”) (citation omitted);

see In re Unisys Savings Plan Litig., 173 F.3d 145, 156 (3d Cir. 1999); United States v. Llera

Plaza, 188 F. Supp. 2d 549, 564 (E.D. Pa. 2002). Of course, Daubert motions cannot be granted

without permitting the proponent of the expert evidence an “adequate opportunity to defend its




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admissibility.” Cortes-Irizarry v. Corporacion Insular de Seguros, 111 F.3d 184, 188 (1st Cir.

1997). See also In re Paoli R.R., 35 F.3d at 739.

       Consequently, the only lawful way to implement Debtors’ demand for Daubert scrutiny

of individual claimants’ evidence would be by holding tens of thousands of Daubert hearings —

or even more, depending on the number of experts each claimant would proffer in support of his

or her claim. As Judge Vance recognized in B&W, the proposed allowance proceedings are

simply not feasible.

               3.      The Bankruptcy Court Does Not Have Core Jurisdiction to Determine
                       the Validity of Asbestos Personal Injury Claims by Summary Judgment

       Furthermore, the Bankruptcy Court does not have core jurisdiction to make threshold

determinations of the validity of asbestos personal injury claims by summary judgment, and any

final orders in such proceedings would have to be issued by the District Court. Each individual

asbestos personal injury claimant retains the constitutional right to a jury trial, which is preserved

by statute notwithstanding Garlock’s bankruptcy. See 28 U.S.C. § 1411(a) (“this chapter and

title 11 do not affect any right to trial by jury that an individual has under applicable

nonbankruptcy law with regard to a personal injury or wrongful death tort claim”). Congress has

also mandated that such trials be conducted in the district court that presides over the bankruptcy

or, if that court so orders, in the district where the claim arose. 28 U.S.C. §§ 157(b)(5). See

ACC Info. Br. at 10. In the same vein, Section 157(b)(2)(B) expressly excludes “the liquidation

or estimation of contingent or unliquidated personal injury tort or wrongful death claims” from

the definition of core proceedings. 28 U.S.C. § 157(b)(2)(B). The grant of a summary judgment




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motion to disallow such a claim results in valuing the claim at zero, effectively liquidating it, and

thus is a non-core proceeding.15

       Bankruptcy courts are thus limited to issuing recommended findings of fact and

conclusions of law when presiding over such summary judgment proceedings. Whichever party

disagreed with the Bankruptcy Court’s recommendations could object, requiring de novo review

by the District Court before it could issue a final order. See 28 U.S.C. § 157(c)(1). And even if

the Bankruptcy Court did have core jurisdiction over threshold determinations of the merits of

claims, any rulings on Rule 56 motions to disallow the claims, by either the Bankruptcy Court or

the District Court, would predictably generate appeals by whichever side was dissatisfied with

the outcome.16


15
   See, e.g., In re Schepps Food Stores, Inc., 169 B.R. 374, 377 (Bankr. S.D. Tex. 1994)
(holding that, under Section 157(b)(2)(B), the bankruptcy court lacked core jurisdiction to
disallow a personal injury claim based on a state statute of limitations defense, “because to do so
would effectively liquidate the claim for purposes of distribution”). See also In re UNR Indus.,
Inc., 74 B.R. 146, 148 (N.D. Ill. 1987) (holding that the bankruptcy court could not decide a
summary judgment motion with respect to a personal injury claim against the bankruptcy estate
because a resolution against the creditor could serve as a final adjudication of the creditor’s
claim on the merits for purposes of distribution).
   Courts that have come to the opposite conclusion have reasoned that “liquidation or
estimation” refers only to determinations as to the amount of a claim, and does not include
determinations as to the validity of the claim. See In re UAL Corp., 310 B.R. 373, 379 (Bankr.
N.D. Ill. 2004). See also In re Dow Corning Corp., 215 B.R. 346, 356 (Bankr. E.D. Mich. 1997)
(“[A] liquidated debt is one that ‘has been made certain as to amount due by agreement of the
parties or by operation of law’ and that ‘the concept of a liquidated debt relates to the amount of
liability, not the existence of liability.’”) (quoting United States v. Verdunn, 89 F.3d 799, 802
(11th Cir.1996)). This rationale is not persuasive, and the courts in these cases make no attempt
to explain why a determination that a claim is invalid, and thus worth “zero”, does not effectively
“liquidate” the claim. Nor do those courts adequately explain how a bankruptcy court can
legitimately take upon itself the role of deciding whether a given case is amenable to summary
judgment where an erroneous summary disposition would deprive the creditor of a statutory and
indeed constitutional right to trial by jury in a district court.
16
   Indeed, for these and other reasons, in In re Babcock & Wilcox Co., No. 00-0558, 2000 WL
422372, at *1 (E.D. La. Apr. 17, 2000), the district court, at the debtor’s request, withdrew the
reference to the bankruptcy court with respect to, inter alia, the bar date motion and the proposed
(Footnote continued on next page.)


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       C.      What Would Result from a Bar Date/Proof of Claim Process Would Be
               Many Years of Delay and Tens of Millions of Dollars Spent for No Purpose

       Garlock has proposed an eleven-page proof of claim form that would perform double-

duty as a far-reaching — and improper — set of interrogatories and discovery requests

concerning the merits of individual claims.17       If the form were adopted, it would be so

burdensome, if not impossible, to complete within the time-frame contemplated by Garlock that

it would operate to disqualify large numbers of claims for which Garlock clearly would be liable

if it remained in the tort system.

       In B&W and Grace, where similar (though less far-reaching) proof of claim forms or

questionnaires were proposed, litigation over the form tied up the parties and the Court for two

years or more. Similarly time-consuming satellite litigation over the details of the form would

certainly occur in Garlock’s case, as its proposed form is objectionable in myriad ways. If any

version of the form were ultimately approved, it would be many more years before the forms

could be completed and many more years still before Garlock would collate the information they




(Footnote continued from previous page.)
summary judgment motions (a proposal later abandoned, as already noted) regarding the validity
of claims in that case. The court held that “partial withdrawal is warranted because it will reduce
the uncertainty and confusion that presently exists among a number of courts regarding the
bankruptcy court’s jurisdiction to make threshold determinations as to the validity of personal
injury tort claims and because it will promote judicial economy by eliminating duplicative
proceedings.” Id.
17
   By contrast, Garlock’s proposed proof of claim form for non-asbestos creditors is closely
modeled on Official Form 10, mirroring the prevailing practice where proofs of claims are
appropriate. See Ex. A to Debtors’ Motion an Order (I) Establishing Bar Dates for Filing Proofs
of Claim for Non-Asbestos Claims, (II) Approving Bar Date Notices and Mailing Procedures and
(III) Providing Certain Supplemental Relief Claims, dated Sept. 21, 2010 [Dkt. No. 528]. See
also Fed. R. Bankr. P. 3001(a) (“A proof of claim is a written statement setting forth a creditor’s
claim” that “shall conform substantially to the appropriate Official Form [10]” – i.e., Official
Form 10) (emphasis added).



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contain for any practical use in court. And it would take decades for the courts to complete the

allowance proceedings Garlock proposes and the appeals that would surely follow.

       As a preliminary matter, the role of this Court in any such proceedings would have to be

established. For the reasons discussed in Section I.B.3 above, the Bankruptcy Court cannot be

the decision-maker, as threshold determination of a personal injury claim by summary judgment

does not fall within core bankruptcy jurisdiction. Garlock acknowledged in its Information Brief

that “there are * * * special jurisdictional rules for personal injury tort and wrongful death

claims,” and promised that in conjunction with its Bar Date Motion it would “propose an

appropriate division of oversight of such issues between this Court and the district court,

consistent with this Court’s statutory jurisdiction.” Garlock Info. Br. at 83. In its Bar Date

Motion, however, Garlock has completely ignored this significant issue, which would have to be

resolved, most likely on appeal, at the outset.

       The function of the proof of claim form would also have to be litigated. The form calls

for a remarkable amount of information — well beyond what Garlock could compel plaintiffs to

produce in the tort system — much of which most claimants would find difficult to provide. If

Garlock had its way, claimants to whom Garlock would clearly be liable under applicable non-

bankruptcy law, but who failed to muster the resources to return their proof of claim forms

within the ninety or so days allotted, would find their claims time-barred, disallowed, and

“discharged” even before a discharge could be granted under Bankruptcy Code § 1141(d). See

Ex. G to Bar Date Motion (Proposed Order). Additionally, even claimants who returned their

proof of claim forms on time but failed to complete them “in [their] entirety” would see their

claims “denied” — that is, disallowed and expunged. See Ex. F to Bar Date Motion (Proposed




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Asbestos Proof of Claim Form) at 1. That result is not authorized under the Bankruptcy Code

and Rules, and cannot be countenanced by this Court.

         In a proper allowance procedure, if Garlock believed a proof of claim form was not

adequate or did not present a viable claim, it would have to object to the claim by filing formal

objections pursuant to Bankruptcy Rule 3007, and the burden of rebutting the prima facie

validity of the claim would fall on Garlock. See In re Hemingway Transp., Inc., 993 F.2d 915,

925 (1st Cir. 1993); In re Allegheny Int’l, Inc., 954 F.2d 167, 173 (3d Cir. 1992). The claimants

would be entitled to discovery under Bankruptcy Rule 9014. Furthermore, the claimants would

be entitled to have the Court determine the scope of discovery to which Garlock would be

entitled — far narrower, the ACC contends, than what is sought in the proposed proof of claim

forms. Indeed, the scope and scheduling of that discovery would predictably be the subject of

much contention, and would engender numerous issues that would have to be resolved by this

Court.

         There is no automatic dismissal sanction, such as Garlock would seek to apply for failure

to fully complete its form. Under Federal Rule of Civil Procedure 37, made applicable in

bankruptcy by Bankruptcy Rule 7037,18 the ultimate sanction of dismissal of a claim is rarely

applied for failure to fully comply with discovery demands. And dismissal is never granted until

an order compelling compliance with the discovery demand has been obtained, there has been a

showing of non-compliance, and the person charged with non-compliance has been afforded the

opportunity to show cause why the failure should be excused. 7 James Wm. Moore et al.,

Moore’s Federal Practice § 37.42[4] (3d ed. 2007) (“An order awarding sanctions for disobeying


18
  See In re Rubin, 769 F.2d 611, 616 n. 6 (9th Cir.1985); In re Skyport Global Commc’ns, Inc.,
408 B.R. 687, 694 (Bankr. S.D. Tex. 2009).



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a discovery order must be predicated upon a violation of a prior order compelling discovery.”).19

Additionally, a showing of bad faith, willfulness, or substantial fault would have to be required

before a dismissal or default sanction could ever be imposed. See Nat. Hockey League v. Metro.

Hockey Club, Inc., 427 U.S. 639, 640 (1976) (per curiam); Agiwal v. Mid Island Mortg. Corp.,

555 F.3d 298, 302 (2d Cir. 2009); see also 7 MOORE’S FEDERAL PRACTICE 3D § 37.05[2][b].

       In addition, the Court would have to resolve the numerous objections to the proof of

claim form that would be raised by the ACC, the FCR, and the individual claimants and their

counsel, upon whom the burden of completing the forms would fall, and who would have to be

given an opportunity to object before any version of the form could be approved.20 Without

purporting to be an exhaustive list of the numerous problems raised by the proposed form, the

following issues are apparent from even the most cursory review:


19
   Indeed, the rules do not permit the Debtors even to seek such an order compelling discovery
until they have issued their discovery and the claimants have been afforded a chance to object to
the discovery. See id. § 37.05[1]; see also Petrucelli v. Bohringer & Ratzinger, 46 F.3d 1298,
1310 (3d Cir. 1995).
20
   In addition, Garlock’s proposed Notice Plan is woefully inadequate, and seems designed to
ensure that potential claimants do not learn of the potential impact on their rights. Garlock’s
plan depends heavily on unidentified “plaintiffs’ firms” to notify claimants. See Bar Date
Motion at 19-20; Ex. E to Bar Date Motion (Bar Date Notice Plan) at 6. Garlock does not even
intend to publish notice in newspapers distributed in the United States, though it would send out
a “press release” to newspapers, merely “directing them to the Bar Date website.” See Bar Date
Notice Plan at 12. Garlock plans to publish a small notice in only five territorial newspapers and
four periodicals; no publication would be made via television or radio. See Bar Date Notice Plan
at 12-13. Remarkably, the search terms “mesothelioma” and “asbestos” would not retrieve
Garlock’s internet notification, unless coupled with “Garlock” or other terms. See Bar Date
Notice Plan at 10-12. Thus, a newly-diagnosed mesothelioma victim researching his disease on-
line would not be likely to find Garlock’s notice. Further, the form of the notices themselves are
not in plain English, but rather legalese, and would be all but unintelligible to most potential
claimants.
   These and the numerous other issues raised by the Notice Plan and form of notice would also
have to be resolved by the Court, after the ACC, the FCR, and the claimants and their counsel
were afforded the necessary discovery to fully evaluate the proposal, and file their objections
with the Court.



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      •   There are no instructions accompanying the form, although it refers to instructions

          that must be followed to complete it.

      •   It appears that no electronic filing system for the claim form has been devised,

          although, under Garlock’s proposal, counsel would somehow be required to file

          electronically (but outside the Court’s ECF System).

      •   Many of the questions in the form are virtually impossible to answer. For example,

          claimants are asked to list every job they ever held, the name and address of every

          employer, specific dates of employment, regardless of whether the claimant was

          exposed to asbestos at those jobs. The claimant is also to identify every worksite at

          which he or she was exposed, with the specific names of the asbestos-containing

          products, tool used, and other details. It is simply unrealistic to expect that claimants

          will have all of that information available. Indeed, claimants often do not know the

          names of the products to which they were exposed on jobsites, but rely on third-party

          depositions, shipping manifests, and other sources to find out.

      •   The form demands the opinions of plaintiffs’ counsel with respect to the relative

          culpability of each tortfeasor and would thus impermissibly invade the work product

          privilege.

      •   The form violates the presumptive limit of 25 interrogatories, including sub-parts,

          under Fed. R. Civ. P. 33.

      •   The form asks for irrelevant information, much of it confidential, such as settlements

          with other defendants and third-party trusts.

Thus, it can be anticipated that litigation on the numerous and significant issues raised by the

form alone would take two years, as did the less ambitious forms proposed in B&W and Grace.



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        In addition, the burden that the forms would place on claimants and their counsel is

unprecedented. Garlock’s suggestion that the claims forms could be distributed and completed

in less than four months is unrealistic on its face. The proof of claim form runs eleven pages,

with approximately 687 individual entries to fill in, excluding continuation sheets. If we assume

the Debtors’ estimate of the number of claimants (124,000) is correct, and if we estimate that it

would take about three hours to complete each form (obtaining the information for and filling in

roughly four entries per minute on average), the total number of hours required to complete all

the forms would be 372,000 hours (i.e., 124,000 multiplied by 3) — which amounts to 186 years

of work. Additionally, a significant amount of attorney time would be required, because of the

types of information sought. This is far in excess of the time that would be available to complete

the forms if the bar date were January 17, 2011, as the Debtors propose. And a close reading of

the form makes clear that it is highly unlikely to take only three hours to complete.

        The cost of the exercise would be enormous as well. Assuming that the claimants’ law

firms could enlist sufficient additional paralegals to complete the work and assuming,

conservatively, a cost of $25 per hour for each paralegal, the total cost of the exercise would be

$9,300,000 (i.e., 372,000 multiplied by $25). That figure does not take into the account the

significant amount of attorney time that will be required, at a higher hourly rate, the cost of

recruiting and training paralegals to complete the forms, the cost of obtaining a physicians’

diagnostic reports that fulfill all the requirements demanded by the Debtors, and other unforeseen

expenses.

II.     BECAUSE THE DEBTORS ARE HOPELESSLY INSOLVENT THERE IS NO
        LEGITIMATE PURPOSE FOR A BAR DATE/PROOF OF CLAIM FORM AND
        ALLOWANCE PROCEEDINGS

       The main purpose of a bar date and allowance proceedings in a bankruptcy case is to

bring to light the claims against, and determine the total liabilities of, the estate, so that the assets


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may be distributed to the creditors swiftly, and finality can be achieved.21 In these bankruptcy

cases, Garlock’s stated purpose for the proposed allowance procedings is not to determine and

deal with its asbestos liabilities, but to reduce or even eliminate those liabilities, and salvage

equity for its shareholder EnPro. See Garlock Info. Br. at 85. But Garlock’s goal is improper

and cannot be achieved.

       The asbestos personal injury claims, which are Garlock’s only significant liabilities,22

have rendered Garlock deeply insolvent, and EnPro has no just claim to any share of the assets of

the estates. Faced with this reality, EnPro and Garlock are threatening the claimants with soaring

costs and a protracted bankruptcy. Their obvious goal is to gain undue negotiating leverage and

extract an undeserved equity interest. This is a clear abuse of the bankruptcy process. If the

Court were to adopt the Debtors’ proposed course of proceeding, the costs in time and money to

the estate, the claimants, and the Court, would be enormous and unconscionable.

       This Court should be highly skeptical of the Debtors’ proposal. As the Supreme Court

has noted, the absolute priority rule, and the requirement that a plan of reorganization be “fair


21
   See, e.g., 9 Norton Bankruptcy Law and Practice § 179:11 (3d ed. 2010) (“The purpose of a
bar date is to provide ‘a definitive cut-off date past which claims may not be filed’ * * * so that
the total number and amount of claims against the debtors’ estate can be calculated, the estate
divided, and the remainder of the debts discharged. The bar date advances the Code’s goal of
expeditious claim adjudication.”). See also In re Johnson, 84 B.R. 492, 494 (Bankr. N.D. Ohio
1988) (“the purpose of a claims bar date is to provide the debtor and its creditors with finality
and to insure the swift distribution of the bankruptcy estate.”) (internal citation omitted); In re
Charter Co., 876 F.2d 861, 863 (11th Cir. 1989) (same); In re Nwonwu, 362 B.R. 705, 708
(Bankr. E.D. Va. 2007) (same).
22
   Other unsecured liabilities total approximately $4.5 million, after excluding intra-company
notes. In addition, there may be as much as $18 million in secured liabilities. See Declaration
and Schedules A-H, In re Garlock Sealing Techs., No. 10-31607 (Bankr. W.D.N.C. July 20,
2010). See Declaration Statement of Financial Affairs, Official Form 6, Schedules A-H, In re
Garrison Litig. No. 10-31608 (Bankr. W.D.N.C. July 13, 2010); see Official Form 6, Schedules
A-D, In re Anchor Packing Co, No. 10-31606 (Bankr. W.D.N.C. July 13, 2010). See also Ex.
12.



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and equitable,” reflect Congress’ recognition of “the danger inherent in any reorganization plan

proposed by a debtor, then and now, that the plan will simply turn out to be too good a deal for

the debtor’s owners.” Bank of Am. Nat’l Trust and Sav. Ass’n v. 203 N. LaSalle St. P’ship, 526

U.S. 434, 444 (1999). Congress, the Court noted, was concerned with “the ability of a few

insiders, whether representatives of management or major creditors, to use the reorganization

process to gain an unfair advantage”. Id. (quoting H.R. Rep. No. 93-137, 93rd Cong., 1st Sess.

at 255 (July 1973)). That concern is particularly applicable here. This Court should firmly

decline to embark on a course of proceeding that would consume the assets of the estates and the

creditors, as well as the Court’s time, at the behest of obviously insolvent Debtors who are

controlled by the shareholder for whose sole benefit the proceeding is proposed.

       While the ACC requires access to Garlock’s historical claims database to perform a

thorough solvency analysis, a preliminary assessment, based on publicly-available information

and statements by Garlock in these bankruptcy cases, demonstrates that Garlock’s liability for

mesothelioma claims alone renders it insolvent — before even taking into consideration claims

involving lung cancer and other cancers, asbestosis, and pleural diseases. Thus, the vast bulk of

the estates’ assets (other than the relatively small amount to be paid to Garlock’s non-asbestos

creditors) must be contributed to fund the Section 524(g) trust, which will assume the task of

resolving the asbestos claim. No portion of the estate will remain for Garlock’s shareholder.

The bar date and elaborate allowance-then-estimation proceedings that Garlock has proposed

would serve no legitimate purpose. Rather than “insure the swift distribution of the assets of the

estate[s],” In re Johnson, 84 B.R. at 494, the only result would be delay and waste.

       A corporation is insolvent when “the sum of such entity’s debts is greater than all of such

entity’s property, at fair valuation.” In re Bulldog Trucking, Inc., 66 F.3d 1390, 1398 n.11 (4th




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Cir. 1995). See also 11 U.S.C. § 101(32)(A). The ACC does not have all of the Debtors’

financial information, and so cannot do a complete analysis of the assets and liabilities of the

estates at this time. However, based on public information and data provided by Garlock in these

cases and drawing reasonable inferences from other asbestos cases, it is clear that Garlock’s

liability for mesothelioma claims alone renders it deeply insolvent. A conservative estimate of

Garlock’s liability for present and future mesothelioma claims is more than $1.5 billion, while

the total equity of the consolidated Debtors is no more than $882 million.

         A.     Garlock’s Aggregate Liability for Pending and Future Mesothelioma Claims
                Exceeds $1.5 Billion

         Garlock has proffered only limited information on its asbestos claims history. While it

has disclosed the number of pending claims for all types of diseases (mesothelioma, lung cancer,

other cancers and nonmalignant diseases), it has disclosed average settlement values, the number

of claims filed, and the number of claims settled for mesothelioma claims only. See Bar Date

Motion at 4-7.      That data is sufficient, however, to establish that Garlock’s liability for

mesothelioma claims alone far exceeds what Garlock and its shareholder, EnPro, have put forth

in public filings as the worst case scenario for total asbestos liability.23

         Briefly, total asbestos liability is calculated by multiplying the number of claims received

by the average settlement value and by the percentage of claims actually paid.24 According to

Garlock, its average settlement value for a mesothelioma claim since 2006 has been over


23
   In its most recent Form 10-K, EnPro estimated Garlock’s total asbestos liability as falling
within the range of $480 million to $602 million. See EnPro Indus., Form 10-K, Mar. 3, 2010, at
34 (excerpt attached as Ex. 8). EnPro indicated that its consultants also produced a broader range
of estimates, from $252 million to $698 million, and warned that “scenarios continue to exist that
could result in total future asbestos-related expenditures for Garlock in excess of $1 billion.” Id.
at 35.
24
     See In re Federal-Mogul Global, Inc., 330 B.R. 133, 144 (Bankr. D. Del. 2005).



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$75,000.25 Based on numbers provided in Garlock’s Information Brief and Bar Date Motion,

and in public statements, Garlock paid 9,500 (or 82.2%) of the 11,558 mesothelioma claims that

it resolved between 2000 and 2009. 26 Thus, one can fairly assume that, had Garlock remained in

the tort system, it would have paid 82.2% of the claims against it at the average settlement value

of $75,000. According to Garlock, the total number of pending mesothelioma claims against it is

5,372.27 Assuming that only 82.2%, or 4,416, of those claims would be paid, at an average

payment of $75,000, the total liability for pending mesothelioma claims would be $331 million.

       Garlock’s liability for future mesothelioma claims (or, more accurately, “demands”)28

depends on the number of such claims that will be brought against it in the future.           The

generally-accepted methodology used to predict future claims, which has been adopted by

numerous courts conducting asbestos estimation proceedings,29 is derived from the Nicholson


25
   See Bar Date Motion ¶¶ 10 and 13, at 5, 6. See also EnPro Indus., PowerPoint Presentation
for EnPro Investor and Analyst Meeting, June 10, 2010, at 39 (excerpt attached as Ex. 9) (stating
that the average settlement values for mesothelioma claims for the last four years were $78,700
(2006), $72,400 (2007), $75,600 (2008), and $74,100 (2009)).
26
   Garlock received 16,500 mesothelioma claims between 2000 and 2009 and paid 9,500 such
claims during the same period. See Bar Date Motion ¶13, at 6 (“[B]etween 2000 and 2009, an
average of 1,650 mesothelioma claimants per year sued Garlock * * * [which] paid
approximately 950 mesothelioma claims per year * * *.”). Only 4,492 of the claims filed during
this period remain pending, which implies that the remaining 2,058 claims, or 17.8%, were
“zero-pay” claims (i.e., resolved with no payment). Thus, 82.2% of claims were paid.
   This percentage of claims paid is necessarily an estimate because, without discovery of
Garlock’s claims database, the ACC is unable to determine how many of the claims paid during
the period 2000-2009 were actually filed prior to 2000. The calculation in the text above
assumes that claims paid during the period 2000-2009 were also filed during this period.
27
   See Ex. C to Bar Date Motion (Pending Asbestos Complaints Against Garlock by Year of
Filing) at 2.
28
   “Demands” are rights against a debtor for payment for asbestos injuries that will not be
asserted until after the bankruptcy case is over. See 11 U.S.C. § 524(g)(5) (defining “demands”).
29
  See, e.g., In re Federal-Mogul Global, Inc., 330 B.R. 133, 144 (Bankr. D. Del. 2005); In re
Armstrong World Indus., 348 B.R. 111, 113 (Bankr. D. Del. 2006).



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Study,30 an epidemiological study that has proven to be remarkably accurate in predicting the

incidence of mesotheliomas that will arise each year. In previous asbestos bankruptcy cases,

liability estimates accepted by the courts have assumed a number of anticipated future claims

several times higher than the number of present claims. This is not surprising. As the Nicholson

Study demonstrates, large numbers of workers are expected to fall ill from mesothelioma, the

“signature” asbestos-related disease,31for decades to come.

         Based on experiences in other cases and Garlock’s known experience in the tort system, a

conservative back-of-the-envelope estimate forecasts that approximately 21,500 additional

mesothelioma claims will be asserted against Garlock in the future, a ratio of future claims to

present claims of approximately 4:1.32 Assuming that 82.2% of those claims will be settled, for


30
   William J. Nicholson et al., Occupational Exposure to Asbestos: Population at Risk and
Projected Mortality – 1980-2030, 3 American Journal of Industrial Medicine 259, at 259 (1982)
(forecasting the incidence of mesothelioma and asbestos-related lung cancer in the United States
from 1980 through 2027). See also the discussion of the Nicholson Study in the ACC
Information Brief, at 16-17.
31
     See ACC Info. Br. at 65-66.
32
   This ratio of future to pending mesothelioma claims is in keeping with that used in estimates
in other asbestos cases. The court in In re Armstrong World Indus. adopted a liability estimate
that included 3,134 pending mesothelioma claims against the debtor, and an additional 47,973
mesothelioma claims that would be asserted in the future, a ratio of future to pending claims of
more than 15 to 1. See In re Armstrong World Indus., Inc., 348 B.R. 111, 134 (D. Del. 2006).
See also Mark. A. Peterson, Armstrong World Industries, Inc. Projected Liabilities for Asbestos
Personal Injury Claims, Table 12, at 22, and Appendix A, Table A-3, at A-3 (March 29, 2006)
(excerpt attached as Ex. 10). The Nicholson Study shows that the incidence of mesothelioma
will decline after it peaked during the 2000 – 2009 period. Because the Armstrong estimate
included future claims from the period 2000- 2009, adjustments have to be made to remove
future claims from that period in order to provide a proper basis for comparison to the estimate
of Garlock’s future claims. Subtracting the 18,526 claims that were anticipated to arise during
the 2001-2009 period in Armstrong leaves a ratio of more than 9:1.
       Similarly, in In re Federal-Mogul Global, Inc., 330 B.R. 133, 164 (Bankr. D. Del. 2005),
the court adopted a total liability estimate that included 3,002 pending mesothelioma claims, and
a range of 27,850 to 37,339 future claims, a ratio of future to pending claims of between 9 and 12
to 1. See Mark. A. Peterson, Turner and Newall, Inc., Projected Liabilities for Asbestos
(Footnote continued on next page.)


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an average of $75,000 per claim, and adjusting the average value for inflation, the present value

of Garlock’s liability for future mesothelioma claims is about $1.2 billion. When added to the

$331 million liability for present claims, this produces an aggregate liability for present and

future mesothelioma claims of approximately $1.5 billion.        This estimate appears highly

reasonable, in light of Garlock’s own statement that it already has spent more than $1.3 billion

resolving asbestos claims. See Garlock Info. Br. at 1.

       The ACC’s preliminary estimation of Garlock’s liability, of course, is not precise, given

that it is derived from numbers Garlock and EnPro have carefully selected to present in their

filings in these cases and in EnPro’s investor presentations. Nor does it account for claims for

lung cancers, other cancers, and nonmalignant diseases caused by exposure to Garlock’s

products. The ACC therefore expects that Garlock’s aggregate asbestos liabilities will prove to

be much higher, once Garlock’s claims, verdict and settlement database is made available and

analyzed.   The point now, however, is that Garlock’s limited published data regarding its

exposure for mesothelioma claims alone point to an overwhelming liability.

       B.     Garlock’s Liability for Mesothelioma Claims Alone Renders it Insolvent,
              Since the Debtors’ Consolidated Equity is, at Most, $882 Million

       One can derive a rough estimate of the Debtors’ total equity from the Debtors’

Statements of Financial Affairs (the “Statements”)33 filed with this Court, and other publicly



(Footnote continued from previous page.)
Personal Injury Claims, Table 17, at 23, and Appendix A, Table A-3, at A-3 (Nov. 29, 2004)
(excerpt attached as Ex. 11). Subtracting the 13,501 claims estimated to arise during the 2001-
2009 period from the lowest estimate of future claims leaves a ratio of more than 4.7:1, still
significantly higher than the ratio we are using here to demonstrate Garlock’s probable
insolvency.
33
   See Declaration and Schedules A-H, In re Garlock Sealing Techs., No. 10-31607 (Bankr.
W.D.N.C. July 20, 2010). See Declaration and Schedules A-H, In re Garlock Sealing Techs.,
No. 10-31607 (Bankr. W.D.N.C. July 20, 2010). See Declaration, Statement of Financial
(Footnote continued on next page.)


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available information. Based on the Statements, as summarized in Exhibit 11, the consolidated

equity value of the Debtors (excluding inter-company obligations among the Debtors) is

approximately $550.9 million.34      However, the assets and liabilities in the Statements are

scheduled at book value (historical cost). Thus, the $550 million equity value does not take into

account the going concern value of Garlock LLC (other than its subsidiaries), and so is likely

understated.

       For a better estimate of the equity value of the Debtors, we determined a “going-concern”

enterprise value (“EV”)35 related to the operating assets and liabilities, which we used in place of

the book value of the operating assets and liabilities. We then added non-operating assets and

deducted non-operating liabilities (both at book value) from the enterprise value to arrive at an

adjusted equity value for the Debtors.




(Footnote continued from previous page.)
Affairs, Official Form 6, Schedules A-H, In re Garrison Litig., No. 10-31608 (Bankr. W.D.N.C.
July 13, 2010); see Official Form 6, Schedules A-D, In re Anchor Packing Co., No. 10-31606
(Bankr. W.D.N.C. July 13, 2010).
34
   The ACC has generated a consolidated balance sheet based on the Statements. See Ex. 12.
Liabilities do not include any amount for asbestos claims, and, while current insurance
receivables are included in assets, prospective insurance recoveries and tax benefits from the
payment of future claims are not assigned any values in the Schedules. The notes to the
Schedules also indicate that (with the exception of Garlock LLC’s investments in subsidiaries,
which were valued on a discounted cash flow basis) all assets and liabilities were based on book
values as of the date of the bankruptcy filing.
35
   The term enterprise value is “generally used to represent some sort of aggregate value of the
company….” Shannon P. Pratt and Alina V. Niculita, Valuing a Business: The Analysis and
Appraisal of Closely Held Companies 37 (5th ed. 2008) (“Pratt”). Enterprise value here is
calculated as the market equity capitalization for the company, plus preferred stock, plus the
book value of debt, less cash and cash equivalents.




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       Analysts often derive enterprise value by a “market multiples” valuation. 36 Here, we

identified guideline companies that have comparable operations to Garlock LLC — including

EnPro, Garlock’s parent company — and divided their current enterprise value by earnings

before interest and taxes (“EBIT”).37 The resulting range of market multiples was 8.1 to 16.1.38

Based on securities filings and public statements by EnPro, a conservative EV/EBIT multiple for

EnPro is 8.1, the lowest of the market multiples.39 Garlock’s EBIT for the twelve months prior

to June 2010 was roughly $29.2 million.40 Applying EnPro’s 8.1 multiple, Garlock LLC’s
                                           41
operating EV is roughly $236.5 million.         Adding this figure to the Debtors’ non-operating

assets, and subtracting non-operating liabilities, produces an equity value for the Debtors of


36
   See, e.g., http://www.investopedia.com/terms/e/ev-ebitda.asp (last visited Sept. 17, 2010);
Richard      Loth,    Investment    Valuation     Ratios:    Enterprise      Value       Multiple,
http://www.investopedia.com/university/ratios/ investment-valuation/ratio8.asp (last visited Sept.
17, 2010).
37
   For more on ratio analysis, see, e.g., James R. Eck et al., Asset Valuation §§ 29.01-29.07,
30.08, 30.11 (1st ed. 1991). See also, e.g., Jonathan E. Clarke, Handbook of Modern Finance
D6.05[4][d] at D6-32 (12 ed. 2010); Pratt at 313.
38
   See Exhibit 13. All of the guideline companies have substantially larger revenues than
Garlock LLC. In general, all other factors being equal, larger companies have greater access to
capital markets and lower perceived risk, which typically translates into higher trading multiples.
For that reason, we consider it highly unlikely that Garlock LLC’s EV to last-twelve-month
EBIT would exceed the high end of the multiple range for the guideline companies.
39
    See EnPro Indus., PowerPoint Presentation on Garlock Sealing Technologies LLC Asbestos
Claims Resolution, June 7, 2010, at 27-32 (Ex. 14); EnPro Indus. Form 10-Q, June 30, 2010, at
1-7 (Ex. 15); EnPro Indus. Form 10-K, Mar. 3, 2010, at 55-59 (Ex. 8). The complete EnPro
Indus. Form 10-Q, June 30, 2010 is available at http://www.sec.gov/Archives/edgar/
data/1164863/000095012310075077/g24294e10vq.htm. The complete EnPro Indus. Form 10-
K, Mar. 3, 2010 is available at http://www.sec.gov/Archives/edgar/data/1164863/
000095012310020653/g22340e10vk.htm.
40
  See EnPro Indus., PowerPoint Presentation for EnPro Investor and Analyst Meeting, June 10,
2010, at 127-128 (Ex. 9); EnPro Indus. Form 10-Q, June 30, 2010, at 6-7 (Ex. 15).
41
   Because Garrison has been a claims processing company for Garlock and Anchor, and
Anchor had no operations (see ACC Info. Br. at 36 and 36 n.92), the operating enterprise value
for Garlock LLC is the operating enterprise value for the Debtors collectively.



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roughly $648.7 million. See Exhibit 16. Applying the highest market multiple of 16.1 produces

an estimate of $882.3 million in equity. See Exhibit 17.

       As with the liability estimates, these figures are not precise, since they are derived from

the carefully selected numbers that Garlock has chosen to provide in its filings in these cases,

and EnPro’s investor presentations. The ACC requires discovery concerning the size of the

estates to refine these calculations and to determine the extent of the assets available to Garlock’s

creditors.   But with equity value in the range of $648.7 million to $882.3 million and

mesothelioma liabilities of roughly $1.5 billion there can be no serious question that Garlock is

deeply insolvent, and that the allowance proceedings it proposes are designed to “preserve”

equity that does not exist. Such proceedings would serve no legitimate purpose.

III.   CASE AFTER CASE HAS SHOWN THAT THE DEBTORS’ HISTORICAL
       CLAIMS RESOLUTION HISTORY PROVIDES THE BEST FACTUAL BASIS
       UPON WHICH TO ESTIMATE THE ASBESTOS LIABILITY

       A.      The Best Source of Information for Measuring Garlock’s Asbestos Liability
               Is Its Historical Claims Database

       Garlock is indubitably insolvent; the only real question is the amount of the shortfall.

Garlock cannot refute its insolvency by ipse dixit assertions that the tort system is irrational and

unfair, or that the amounts Garlock willingly paid to settle mesothelioma claims do not

accurately reflect what Garlock now believes to be its “true responsibility” for the injuries to its

victims. Bar Date Motion at 11-12. Garlock’s “true responsibility” is what it would have paid

its asbestos victims in the tort sytem in the absence of bankruptcy.42 Garlock’s historical record

of claims resolution in the tort system, including results achieved by settlement and verdict, over

decades, provides the best available data for determining its aggregate liabilities for present and

42
   See Federal-Mogul, 330 B.R. at 155 (“It is, after all, a general principle in bankruptcy law
that, for bankruptcy purposes, state law governs the validity and amount of a claim.”).



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future asbestos claims. When Garlock ignores or deprecates the values that emerged from that

process, it essentially seeks to escape history and invent a world that does not exist. Such

wishful thinking on the Debtors’ part, and the desperate litigation maneuvers it engenders,

should be met with a high degree of skepticism.

       Fundamental principles of bankruptcy law and federalism prohibit the parties or this

Court from ignoring or overriding the values placed on asbestos claims in the tort system.

Asbestos personal injury tort and wrongful death claims are creatures of state law (or, in

maritime cases, admiralty law).     Accordingly, applicable non-bankruptcy law governs the

validity and value of the claims. See ACC Info. Br. at 41-42. No federal doctrine, procedure, or

practice can legitimately change the outcomes or supplant the values that would be arrived at in

the tort system. As the Supreme Court has repeatedly emphasized, with specific reference to the

claim allowance function, the “basic federal rule in bankruptcy is that state law governs the

substance of claims, Congress having generally left the determination of property rights in the

assets of a bankrupt’s estate to state law.” Travelers Cas. & Sur. Co. v. Pac. Gas & Elec. Co.,

549 U.S. 443, 450-51 (2007) (citations and internal quotations omitted). See also Raleigh v. Ill.

Dep’t of Revenue, 530 U.S. 15, 20 (2000) (same); Butner v. United States, 440 U.S. 48, 54

(1979) (same); Owens Corning v. Credit Suisse First Boston (In re Owens Corning), 322 B.R.

719, 721 (D. Del. 2005) (estimating aggregate asbestos liabilities, and noting that “[t]he claims

being valued arise under state law, hence state law determines their validity and value.”). Thus,

claims in bankruptcy must be given the value they would have under applicable non-bankruptcy




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law. Nothing in the Bankruptcy Code would authorize this Court to promulgate its own tort law

and disallow asbestos claims that would be recognized in the state courts.43

       Garlock and its insurers had long experience litigating asbestos claims before resorting to

bankruptcy, having resolved tens of thousands of claims. That history generated a rich body of

data that makes it possible to estimate the Debtor’s remaining liability in an objective way.

Indeed, that data — which reflect Garlock’s and its insurers’ own assessments of the claims

values, i.e., the amounts necessary to resolve those claims — provide the only realistic starting

point for determining the settlement value of unresolved claims, and deriving a reasonable

estimate of Garlock’s aggregate liability for pending and future claims. It is meaningless to

speak of claim values or “true responsibility” outside of the context of actual litigation.

       While Garlock was defending asbestos claims in the tort system, management no doubt

exercised its business judgment in Garlock’s best interest at every juncture, and made rational

decisions in the enlightened self-interest of the company, with the overall objective of

minimizing the outlays and the liability. When negotiating settlements, Garlock and its insurers

were constantly motivated to minimize Garlock’s overall costs. The Court should not look

behind the business decisions that generated Garlock’s claims resolution history as reflected in

its own database.

       There is no reason, for example, to go through a bar date and claims allowance procedure

to determine how many of the pending claims against Garlock are likely to be resolved without

payment. See Bar Date Motion at 10. Under well-established methods, the number of “no

43
   The Debtor has not even attempted to show any statutory basis for disallowing asbestos
claims under Section 502(b) of the Bankruptcy Code. Such claims would hardly be
“unenforceable against the debtor and property of the debtor, under any agreement or applicable
law,” 11 U.S.C. § 502(b)(1), and no other subpart of Section 502(b) has any conceivable
relevance.



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pays” among pending and future claims will be reliably estimated based on statistical analysis of

Garlock’s claim history. As noted in Part II.A, above, history indicates that Garlock resolved

17.8% of the mesothelioma cases against it without payment. Those “zero-payment” cases will

be factored into the parties’ experts’ estimates of Garlock’s remaining liabilities. See In re

Federal-Mogul Global, Inc., 330 B.R. at 146 (noting that an estimate of liability will take into

account the percentage of claims that are paid).

      Nor are a bar date and allowance proceedings necessary to account for changes in the law

regarding the treatment of claims for non-malignant diseases, or to determine the effect of the

“Bankruptcy Wave” on Garlock’s liability. See Bar Date Motion at 10. Rather, these are

matters that the parties’ experts can consider in valuing Garlock’s pending and future claims.

The impact of historical events already will be fully reflected in the claims database and, where

appropriate, extrapolation from historical figures can be adjusted to reflect changed

circumstances. See In re Owens Corning, 322 BR. at 725. However, it bears noting that

Garlock’s self-serving assertions that jury verdicts against it were wrong, that its settlement

values are artificially inflated, and that has paid more than its share of liability in the tort system

do not justify any such adjustments to the historical data as the appropriate yardstick for

estimation. These unsubstantiated assertions certainly do not justify discarding that yardstick

completely and miring this Court and the District Court in years-long discovery disputes and

allowance proceedings.

      There is no basis for the contention that Garlock paid any claims unnecessarily, much less

that Garlock and its insurers paid more than a billion dollars for meritless claims. Rather, like

other asbestos defendants, Garlock settled claims that were likely to survive motions for

summary judgment, while contesting the rest. Indeed, Garlock managed to resolve almost 20%




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of the mesothelioma claims against it without payment. Nor is there any substance to Garlock’s

complaint that it paid more than its fair share of asbestos victims’ damages in the tort system.

See ACC Info Br. at 13-16. All defendants’ costs for asbestos claims have increased sharply

since 2000. A review of Mealey’s Asbestos Litigation Reporters for the relevant years reveals

that for the period 1993 through 1999, the average jury verdict in favor of a plaintiff in a

mesothelioma case was $3.9 million (in 2009 dollars), and almost doubled, to $7.4 million (in

2009 dollars), during the period 2000 through 2009. See also Hearing Transcript at 26, In re

Armstrong World Indus., (D. Del. May 23, 2006) (No. 00-CV-4471) (excerpt attached as Ex. 18)

(Daniel Myer, who was an outside claims negotiator for Armstrong, USG, Union Carbide,

Federal-Mogul, and GAF, among others, testifying that, in the 1999-2000 timeframe, “the

estimated gross value of a mesothelioma case was between 2 and a half to 3 and a half million

dollars,” and that “the total gross value of a mesothelioma case [in 2006] is somewhere in the

range of between [$]5 to $8 [million].”).

      At the same time that liability costs were growing for all defendants, Garlock was

experiencing additional liability pressures as a natural consequence of bankruptcy filings by

some of the larger asbestos defendants. Garlock’s contention that its liability costs should have

reverted to pre-2000 levels as the debtors emerged from bankruptcy and established Section

524(g) trusts is fanciful and ignores economic realities. See Bar Date Motion at 6-8. One such

reality is that, because those larger debtors were insolvent, the trusts that now stand in their

shoes lack resources to pay more than a small percentage of the amounts that those debtors paid

before bankruptcy. See ACC Info. Br. at 86. Garlock’s desire to escape reality and minimize its

liabilities in order to enrich its shareholder is no justification for the allowance proceedings it

proposes.




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       All courts have found that the appropriate methodology for determining aggregate

asbestos liability is estimation by reference to claims history. See, e.g., In re Eagle Picher

Indus., Inc., 189 B.R. 681, 684-86 (“the only sound approach is to begin with what is known;

namely the data in the [debtor’s claims] database”); In re Armstrong World Indus., Inc., 348 B.R.

111 (D. Del. 2006); Certification of No Objection, In re Babcock and Wilcox, No. 01-30135

(Bankr. D.N.J. December 19, 2003); In re Owens Corning, 322 B.R. at 725; In re Federal-Mogul

Global, 330 B.R. at 157 (same).44 No court has ever estimated a company’s aggregate asbestos-

related liability by reference to data obtained from responses to proof of claim forms or

questionnaires issued to claimants. See, e.g., Hearing Transcript at 284-285, In re W.R. Grace &

Co. (Bankr. D.Del. Sept. 15, 2009) (No. 01-01139) (excerpt attached as Ex. 19) (testimony that a

methodology proposed by W.R. Grace to estimate its aggregate asbestos-related liability, which

would have used data collected from claimants’ responses to proofs of claims forms and

questionnaire, was “novel” and “unusual” and, to his knowledge, had never been approved or

adopted by a court in the “history of estimation”).

       Owens Corning is instructive. In that case, District Judge John P. Fullam rejected a

proposal made by Credit Suisse First Boston, an agent of holders of bank debt, to impose for

estimation purposes a bar date and liability criteria, and to take discovery of asbestos claimants,

based on many of the same arguments Garlock makes here. Instead, Judge Fullam scheduled an

estimation hearing, ruling that “the data now available – the Debtor’s claim history, the


44
   These estimation cases establish that the key considerations that should enter into a court’s
estimate of a debtor’s aggregate asbestos liability are: (1) the past claims resolution history of
the debtor company; and (2) foreseeable trends in the incidence of asbestos related diseases and
in the real world litigation landscape in which the claims would have been resolved, but for the
bankruptcy. See Armstrong, 348 B.R. at 123-24; Owens Corning, 322 B.R. at 721-25; Federal-
Mogul, 330 B.R. at 155; Eagle-Picher, 189 B.R. at 690-92.



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experience in other cases, etc. – viewed in light of the expert testimony at the scheduled hearing,

should probably suffice for Claims Estimation purposes.” See Order, In re Owens Corning, Nos.

00-3837-3854 (Bankr. D. Del. Aug. 19, 2004) [Dkt. No. 12520] (Ex. 20).

       The court reiterated that position shortly thereafter. Credit Suisse filed a motion seeking

discovery and valuation of a “sample” of individual claims on the grounds that such information

was necessary to determine the debtors’ aggregate asbestos liabilities. Id. The court once again

found that the data from Owens Corning’s claims history was sufficient, and that discovery of

individual claimants’ medical records was unwarranted and would simply result in unnecessary

delay and expense. Memorandum and Order Denying Motion to Establish Procedures to Obtain

a Sample of Medical Records at 1, In re Owens Corning, Nos. 00-3837-3854 (Bankr. D.Del.

Nov. 22, 2004) (Ex. 21).

       Credit Suisse contended that the discovery of individual claimants’ medical files was

necessary to allow it to show that most nonmalignant claims paid by the debtors should never

have been paid. Thus, Credit Suisse argued (as does Garlock in these cases), that the historical

claims resolution values were artificially inflated. Credit Suisse was constrained to inform the

court that even its relatively narrow sample — exponentially smaller than the massive discovery

Garlock seeks here — would require postponing the estimation hearing by “a period of six

months to a year.” Id.

       Judge Fullam denied Credit Suisse’s request and rejected the proposed discovery on the

grounds that “no useful purpose would be served by further delaying matters, and running up

additional legal bills, to prove what is already reasonably well known.” Id. at 2. His reasoning

was clear, succinct and persuasive, and is equally applicable in these cases:

       The record already contains substantial evidence to support the notion that Owens
       Corning’s history of dealing with asbestos claims has included payments to large



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       numbers of claimants who actually sustained little or no harm from their exposure
       to Owens Corning’s products. The relevant data have been available for analysis
       for many years. The conclusions drawn by experts have long been debated, and
       will be fully aired at the January hearing. In the unlikely event that the
       information now available proves insufficient to enable a reasonably correct
       estimate of future claims, that issue, too, will be considered at the hearing in
       January.

Id. at 1-2 (emphasis added).

       Judge Fullam emphasized that the task was to estimate aggregate liability — “to

determine what amount of money will be necessary, and sufficient, to cover Owens Corning’s

liability to claimants in the real world in which such claims will be resolved” — not to determine

the legitimacy of individual claims. Rather, the task of testing individual claims was explicitly

left for another day, to be dealt with by the trust.       Only after the aggregate liability was

estimated, Judge Fullam held, would it be “necessary to structure a program of payments which,

to the extent possible, recognizes only legitimate claims.” Id. at 2.

       Rather than undertaking Credit Suisse’s proposed sample of 1,000 individual claims, the

parties engaged in a streamlined discovery process, limited to issues that truly pertained to

Owens Corning’s aggregate liabilities rather than the merits of individual claims, and lasting

only a few months. As a result of this discipline, the estimation hearing ultimately held in

Owens Corning lasted only six days, and, less than three months later, the court handed down a

Memorandum and Order estimating Owens Corning’s liability for present and future asbestos

claims at $7 billion. See Owens Corning, 322 B.R. at 719. The court viewed its task as one of

applying informed judgment to historical facts regarding the tort system, based on a review of

Owens Corning’s claims litigation and resolution history and the testimony of experts proffered

by the several parties. See id. at 721-22. The court did not endeavor to infer what Owens

Corning’s liability would have been if the tort system had been different than it was, but

grounded its analysis on the realities confronting Owens Corning at the time it filed for


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bankruptcy, taking into account developments and trends in the tort system that were likely to

influence the value of anticipated future claims. Id.

       Estimation by reference to claims history is even supported by Frederick Dunbar, who is

often a debtors’ expert on estimating asbestos claims. Dr. Dunbar has specifically advocated the

use of historical settlement information, including settlements and judgments obtained in state

courts, in performing an estimation. In his 1996 treatise on estimating mass tort claims, Dr.

Dunbar states that, “[w]here data is available on the indemnity payments that historically have

been made on similar claims, an average of these may serve to estimate the payment on pending

or future claims.”45 Later in the book, Dr. Dunbar describes how his firm and other experts used

historical averages of settlement values to predict and value pending and future asbestos claims

in the National Gypsum case. See Dunbar at 158-60. This estimation methodology has also been

used by corporations, settlement trusts, risk managers, and insurance companies, as well as by

courts in contexts outside of bankruptcy litigation. Id. at 1-5, 119-136.

       B.      Discovery Related to Garlock’s Solvency Should Commence Immediately

       The ACC’s preliminary estimates of Garlock’s total assets and aggregate asbestos

liabilities, discussed above, are based on information taken from the Debtors’ filings in this

Court and publicly available financial information. While even this limited information suffices

to demonstrate that the Debtors are hopelessly insolvent, a complete analysis requires access to

Garlock’s claims database. The ACC and its experts has not been provided with sufficient

information and a focused investigation of the Debtors’ businesses. The scheduling priority

should be to complete those inquiries so the parties’ experts can develop their views of the key


45
  Frederick C. Dunbar, et al., Estimating Future Claims: Case Studies from Mass Tort and
Product Liability 81 (Andrews Publications 1996) (“Dunbar”) (excerpt attached as Ex. 22`).



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issue of solvency. Until they can do so, the parties will not be in a position to negotiate a

consensual plan.

       Garlock should provide its claims, verdict and settlement database so that the ACC can

more accurately estimate the number and value of present and future claims. In addition, the

ACC should be afforded the opportunity to depose Garlock’s employees and counsel regarding

Garlock’s claims history and the approaches it took to managing the claims in the tort system.

The ACC should also be permitted discovery regarding the assets of the estate in order to obtain

a complete picture of the Debtors’ financial condition.

       Indeed, Garlock itself argues in the Bar Date Motion that claims estimation discovery

should commence. See Bar Date Motion, ¶¶ 23(b), 27-28. That discovery, however, must be

appropriately focused on the Debtors’ aggregate asbestos liability, not the details of individual

pending claims. The discovery appropriate to aggregate estimation is far different than what

would be appropriate in claim-by-claim litigation and should be limited in scope and in the time

allowed for its completion.

       Indeed, if the Court is not satisfied that the factual assertions put forth in this brief

demonstrate prima facie insolvency, then it should hold the Bar Date Motion in abeyance while

the ACC obtains the claims database and asset-related discovery needed to flesh out that showing

more completely. Certainly, the consequences of the Bar Date Motion to the administration of

these cases, in terms of the time and expense required, are much too great to entertain that

motion on the basis of Garlock’s glib, self-serving, and unsubstantiated rhetoric. We respectfully

submit that the information and authorities marshaled in this brief demonstrate clearly that the

Bar Date Motion must be denied as the ploy of insolvent Debtors bent on tying up the case

indefinitely as a way of pressuring asbestos creditors to accept much less than they are due from




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these estates. If, however, the Court remains in doubt, it should fix a schedule for the discovery

essential to a solvency analysis based on Garlock’s claims history before taking any steps down

the path the Debtors have sketched out in their Bar Date Motion.

IV.    AN ORDER FOR AN ESTIMATION PROCEEDING IS PREMATURE

       Garlock’s proposed allowance proceedings would serve no legitimate purpose in these

bankruptcy cases, and would delay their resolution indefinitely, at enormous costs to the estates.

The ACC respectfully submits that the more sensible course of proceeding would be that

proposed in the ACC’s Scheduling Motion.            That is, the parties should be given limited

discovery into the two main issues in these bankruptcy cases: the total value of Garlock’s assets,

and the amount of Garlock’s aggregate liability for asbestos claims. With that information, the

parties and their experts can develop their respective views of the extent of the assets and

liabilities, and will be positioned to negotiate a consensual plan before the end of Garlock’s

exclusivity period. If the parties cannot agree, the Court will be presented with competing plans,

and will need to structure a contested confirmation hearing. Only at that point would it be

necessary for the Court to schedule an estimation hearing.

       Garlock’s motion to commence a formal estimation proceeding is premature and should

be denied. See Bar Date Motion at 25. After all, Garlock does not contemplate an estimation

hearing in the near term. Rather, as Garlock itself recognizes, if its allowance proceedings were

to go forward, no such estimation would occur for many years. Garlock’s admitted intent is to

“initiate[] a contested matter that triggers parties’ discovery rights.” Id. at 26. In addition to the

massive discovery Garlock would seek from the individual claimants by its so-called proof of

claim form, it proposes that it also be allowed discovery “regarding the Trust claiming process

and regarding the process of generating exposure evidence in the tort system.” Id. Presumably,

that discovery would be directed to the Section 524(g) trusts and law firms representing asbestos


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claimants, among other parties. Garlock admits that discovery of that nature and scope promises

to engender disputes that could be “protracted and contentious.” Id. There is nothing to be

gained by these inevitable discovery disputes other than delaying the resolution of this

bankruptcy case. Indeed, that seems to be Garlock’s main goal — to draw out these bankruptcy

cases in the hopes of wringing concessions from the asbestos claimants and extracting undue

value for its shareholder, EnPro. This Court should be chary of embarking on such a course at

the behest of insolvent Debtors who seek to benefit their parent company, which has no share in

the estate, at enormous cost to creditors and inordinate burden on the interested parties and the

Court.




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                                     CONCLUSION

       The Court should deny the Debtors’ Bar Date Motion in its entirety and grant the ACC

Motion for Scheduling Order.

                                         Respectfully submitted,

                                         Date: September 24, 2010

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